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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION


 UNITED STATES OF AMERICA                               CASE NO. 6:19-CV-01393

 VERSUS                                                 JUDGE JUNEAU

 KEITH L BREAUX ET AL                                   MAGISTRATE JUDGE WHITEHURST


                            NOTICE OF DEFICIENT DOCUMENT

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 The Motion for Leave to File Reply to Response to Motion filed on March 20, 2020 by Keith L
 Breaux was DEFICIENT for the following reason(s):

      ✓      A motion for leave to file must be accompanied by the proposed pleading. The
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